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 8
     Attorney Defendants,
     CAPITOL DISTRIBUTION COMP ANY, LLC
 9
     and GARY HARDGROVE

10

11
                         UNITED STATES DISTRICT COURT
12
          CENTRAL DISTRICT OF CALIFORNIA -WESTERN DIVISION
13

14
      BAKEMARK USA, LLC,                      Case No. 2:21-cv-2499
15
                Plaintiff,
16                                            DEFENDANTS GARY
                    v.                        HARDGROVE'S AND CAPITOL
17
      JAVIER    NAVARRO,   JEFFREY            DISTRIBUTION COMPANY, LLC'S
18    KLEIN)-, ROY BAHNER, GARY               OPPOSITION TO PLAINTIFF'S EX
      HARDuROVE            CAPITOL            PARTE APPLICATION FOR A
19    DISTRIBUTION COMPANY LLC,
      d/b/a CAPITOL FOOD cdA and              TEMPORARY RESTRAINING
20    SUNRISE FOOD SERVICE, !Ne.,             ORDER AND ORDER TO SHOW
                                              CAUSE RE: PRELIMINARY
21             Defendants.
                                              INJUNCTION; DECLARATIONS OF
22                                            JOHN LEVI, GARY HARDGROVE
                                              AND GARY SALOMONS
23

24                                            JUDGE: Hon. John A. Kronstadt
                                              CTRM: lOB
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             OPPOSITION TO EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
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 1         Defendants GARY HARDGROVE ("HARDGROVE") and CAPITOL
 2   DISTRIBUTION COMPANY, LLC, a California Limited Liability Company d/d/a/
 3   CAPITOL FOOD CO. ("CAPITOL"), submit this Opposition to Plaintiff
 4   BAKEMARK USA, LLC's Ex Parte Application for Temporary Restraining Order
 5   and Order to Show Cause Re Preliminary Injunction (the "Application").
 6         For the reasons set forth herein, the evidence presented by Plaintiff as to
 7   CAPITOL and HARDGROVE is insufficient to justify granting injunctive relief, and
 8   therefore, the Application must be denied as to them.
 9

10                MEMORANDUM OF POINTS AND AUTHORITIES
11                                             I.
12                                   INTRODUCTION
13         By its Application, Plaintiff seeks emergency injunctive relief that would cause
14   significant harm to CAPITOL predicated upon a dearth of competent, admissible
15   evidence that CAPITOL has engaged in any conduct whatsoever justifying such
16   drastic relief. Rather, the Application focuses on the recent conduct of three (3)
17   BakeMark employees, none of whom have any relationship whatsoever with
18   CAPITOL. To the contrary, the undisputed evidence demonstrates that CAPITOL
19   independently developed its own cake mixes and has been selling them for
20   approximately three (3) years now.
21         Worse still, HARDGROVE, a former BakeMark employee now employed by
22   Capitol, left the employ of BakeMark in 2009.        (Hardgrove Deel.,   ,r   2)   While
23   employed at BakeMark, HARDGROVE worked in purchasing. (Hardgrove Deel.,                ,r
24   2)   After leaving the employ of BakeMark, HARDGROVE then went to work for
25   Nasco Gourmet Foods & Food Source International from 2009 to 2014. (Hardgrove
26   Deel., ,r 3) CAPITOL did not hire HARDGROVE until 2014. (Hardgrove Deel., ,r 3)
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 I            At the time HARDGROVE was hired by CAPITOL, he executed a
 2   Confirmation of Compliance Regarding Information of a Former Employer. (Levi
 3   Deel., ,I 4, Exhibit "A")
 4            More than three (3) years after HARDGROVE commenced employment with
 5   CAPITOL, in March 2018, HARDGROVE received a Cease and Desist Letter from
 6   BakeMark. (Salomons Deel.,             ,r   2) Counsel for CAPITOL transmitted a letter to
 7   BakeMark's counsel, providing a copy of the Confirmation of Compliance Regarding
 8   Information of a Former Employer and confirming that HARDGROVE brought
 9   nothing from BakeMark to CAPITOL. (Salomons Deel., ,I3, Exhibit "l) BakeMark's
1O counsel responded to the letter and made no attempt to proceed with any legal action
11   at that time based upon HARDGROVE's representations.                    (Salomons Deel., 14,
12   Exhibit "2)
13            CAPITOL has had its own Research and Development Department since 2016.
14   (Levi Deel.,       ,r 6)   Contrary to the Plaintiff's unsupported and speculative assertions,
15   CAPITOL purchased the Cake Donut Mix recipe from a third party in 2017. (Levi
16   Deel.,   ,r 7)     CAPITOL has been selling the Cake Donut Mix since September 2017.
17   (Levi Deel., ,r 7)
18            Likewise, CAPITOL purchased the Old Fashioned Cake Donut Mix recipe
19   from a third party in 2017. (Levi Deel.,            ,r 9)   CAPITOL has been selling the Old
20   Fashioned Cake Donut Mix since September 2017. (Levi Deel., ,r 9)
21            In 2018, Rachel Baylon of the CAPITOL Research and Development
22   department independently developed CAPITOL' s Red Velvet Cake Donut Mix. (Levi
23   Deel.,   ,r   8)      CAPITOL has been selling its Red Velvet Cake Donut Mix since
24   September 2019. (Levi Deel., ,r 8)
25            In 2018, Denis Nguyen of the CAPITOL Research and Development
26   department independently developed CAPITOL' s Vegan Cake Donut Mix. (Levi
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 1   Deel., ,r 10)     CAPITOL has been selling its Vegan Cake Donut Mix since June 2018.
 2   (Levi Deel., ,r 10)
 3            In 2017, Denis Nguyen of the CAPITOL Research and Development
 4   department independently developed CAPITOL's Buttermilk Bar Mix in conjunction
 5   with third party developer Joe Topp. (Levi Deel.,  ,r 11) CAPITOL has been selling
 6   its Buttermilk Mix since January 2018.    (Levi Deel., ,r 11)
 7            In 2018, Denis Nguyen of the CAPITOL Research and Development
 8   department independently developed CAPITOL' s Blueberry Cake Donut Mix. (Levi
 9   Deel.,   ,r 12)   CAPITOL has been selling its Blueberry Cake Donut Mix since June
10   2018. (Levi Deel., ,r 12)
11            HARDGROVE has not recently spoken to Javier Navarro. (Hardgrove Deel., ,r
12   5)   At no time has Mr. Navarro provided HARDGROVE with any BakeMark
13   proprietary information or documentation of any kind whatsoever, including recipes
14   or formulations. (Hardgrove Deel., ,r 5) John Levi, one of the principals of CAPITOL,
15   has never met Javier Navarro. (Levi Deel., ,r 15)
16            HARDGROVE has not exchanged texts, voice mails, telephone calls or emails
17   with Jeffrey Klein. (Hardgrove Deel.,          ,r   6)    Mr. Klein did attend tastings that
18   HARDGROVE was invited to on Sunday January 24, 2021 and Thursday and Friday
19   February 11 and 12, 2021. (Hardgrove Deel., ,r 6) At no time has Mr. Klein provided
20   HARDGROVE with any BakeMark proprietary information or documentation of any
21   kind whatsoever, including recipes or formulations. (Hardgrove Deel., ,r 6) John Levi,
22   one of the principals of CAPITOL, has never met Jeffrey Klein. (Levi Deel., ,r 16)
23            HARDGROVE has not exchanged texts, voice mails, telephone calls or emails
24   with Roy Bahner. (Hardgrove Deel.,        ,r    7)       Mr. Bahner did attend tastings that
25   HARDGROVE was invited to on Sunday January 24, 2021 and Thursday and Friday
26   February 11 and 12, 2021. (Hardgrove Deel., ,r 7) At no time has Mr. Bahner provided
27   HARDGROVE with any BakeMark proprietary information or documentation of any
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 1   kind whatsoever, including recipes or formulations. (Hardgrove Deel., ,I 7) John Levi,
 2   one of the principals of CAPITOL, has never met Roy Bahner. (Levi Deel., ,I 17)
 3          Contrary to Plaintiffs inferences, there is significant competition in the donut
 4   mix space. Companies such as Pillsbury, General Mills, Rich's, Dawn, Krusteaz, King
 5   Arthur, Gusmer Enterprises, Pennant Ingredients, Honeyville, Idan Foods, New Hope
 6   Mills, Purratos, Dakota Blenders, CH Gunther, Inc., QNF Foods, and New Horizon
 7   Foods, among others, make competing donut mixes. (Levi Deel., ,I 13) In fact, several
 8   of the companies publish the ingredient lists of their donut mixes on their internet
 9   websites. (Levi Deel., ,I 13)
1o          Based upon the foregoing facts, there is no evidence that either HARDGROVE
11   or CAPITOL have misappropriated anything from BakeMark.                Accordingly, the
12   Application should and must be denied as to CAPITOL and HARDGROVE.
13                                              II.
14                                   LEGAL ARGUMENT
15          A.     STANDARDS FOR INJUNCTIVE RELIEF
16          Plaintiffs seeking a preliminary injunction must establish a likelihood of success
17   on the merits, a likelihood of irreparable harm in the absence of a preliminary relief,
18   that the balance of equities tip in Plaintiffs favor, and that the injunction is in the
19   public interest. Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7, 20,
20   129 S.Ct. 365, 374 (2008). A preliminary injunction is an extraordinary remedy never
21   awarded as a right. Id., 555 U.S. at 24, 129 S.Ct. at 376; citation omitted. The District
22   Court must balance the competing claims of injury, and consider the effect on each
23   party of the granting or withholding of the injunctive relief. Id.
24          A preliminary injunction "should not be granted unless the movant, by a clear
25   showing, carries the burden of persuasion." Villegas Lopez v. Brewer, 680 F.3d 1068
26   (9 th Cir. 2012).
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 1         Plaintiff has failed to meet its burden of persuasion as to CAPITOL and
 2   HARDGROVE. Therefore, the Application must be denied.
 3         B.     PLAINTIFF HAS FAILED TO INTRODUCE ANY EVIDENCE
 4                THAT CAPITOL AND/OR HARDGROVE HA VE
 5                MISAPPROPRIATED PLAINTIFF'S TRADE SECRETS
 6         18 U.S.C. _ 1836(3) states in pertinent part:
 7         "In a civil action brought under this subsection with respect to the
 8   misappropriation of a trade secret, a court may-
 9                (A)grant an injunction-
10                       (i)to prevent any actual or threatened misappropriation described
11                in paragraph ( 1) on such terms as the court deems reasonable, provided
12                the order does not-
13                       (I)prevent a person from entering into an employment
14                relationship, and that conditions placed on such employment shall be
15                based on evidence of threatened misappropriation and not merely on the
16                information the person knows; or
17                       (II)otherwise conflict with an applicable State law prohibiting
18                restraints on the practice of a lawful profession, trade, or business;
19                (ii)if determined appropriate by the court, requiring affirmative actions
20         to be taken to protect the trade secret; and
21                (iii)in exceptional circumstances that render an injunction inequitable,
22         that conditions future use of the trade secret upon payment of a reasonable
23         royalty for no longer than the period of time for which such use could have
24         been prohibited; ... "
25         Plaintiff has not introduced any evidence that CAPITOL and/or HARDGROVE
26   are threatening or have actually misappropriated any of Plaintiffs trade secrets.
27   Rather, Plaintiff attempts to lump CAPITOL and HARDGROVE into the conduct of
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 1   the main target defendants: Navarro, Klein and Bahner.                The only "evidence"
 2   regarding CAPITOL and/or HARDGROVE is found in ,T,T14 and 15 of the Kim Munoz
 3   declaration. In paragraph 14, Ms. Munoz states: "Bahner told me a lot about his plan
 4   with Klein and Navarro to compete with Bakemark. They have taken and copied all
 5   ofBakemark's donut mix line (Raise, Cake, Blueberry, Chocolate, Red Velvet, French
 6   Culler, Buttermilk, Old Fashioned, Vegan), which they intend to sell under Capitol's
 7   label and distribute through Sunrise."
 8         In paragraph 15, Ms. Munoz states: "Klein also intends to combine copies of
 9 Bakemark's "Master Mix" and "Super Roll Mix", both of which are Bakemark's
1O proprietary formulas for donut raise mixes, into one bag and sell it under Capitol's

11   label."
12         Roy Bahner concedes in paragraph 8 of his declaration: "Hardgrove worked
13   with the BakeMark's receipts for donut mixes while he was at BakeMark, but I have
14   no knowledge of how or when he created the donut mixes for Capitol." (Emphasis
15   added)
16         The statements regarding CAPITOL and/or HARDGROVE amount to nothing
17   more than rank speculation. There is no evidence that any of the BakeMark employees
18   actually    transmitted   any    formulas     and/or   recipes   to     CAPITOL       and/or
19   HARDGROVE. There is no evidence before this Court that Capitol has utilized any
20   of BakeMark's formulas and/or recipes. There is no evidence that CAPITOL is
21   threatening to sell, or has sold, any donut mixes derived from BakeMark's
22   formulations.    There is no evidence that HARDGROVE took any BakeMark
23   proprietary information when he left its employ in 2009.
24         Rather, the only evidence before this Court is that CAPITOL purchased two of
25   the recipes it is currently selling, and has been since 2017. (Levi Deel.,   ,r,r 7, 9)   As
26   to the other products, CAPITOL independently developed its own donut mix
27   formulations several years ago, and its recipes have not changed since they were
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 1   initially developed. (Levi Deel.,   ,r,r 8,   10, 11, 12) CAPITOL has been selling these
 2   products since 2018 and 2019. (Levi Deel., ,r,r 8, 10, 11, 12)
 3         Both HARDGROVE and the CAPITOL principal unequivocally testify that
 4   Navarro, Klein and/or Bahner have given them no information or documentation at
 5   any time. (Hardgrove Deel., ,r,r 5, 6, 7; Levi Deel., ,r,r 15, 16, 17)
 6          Worse still, BakeMark attempts to convince this Court that its donut mixes are
 7   somehow unique. Rather, there exists significant competition in the marketplace. For
 8   instance, Pillsbury, General Mills, Rich's, Dawn, Krusteaz, King Arthur, Gusmer
 9   Enterprises, Pennant Ingredients, Honeyville, Idan Foods, New Hope Mills, Purratos,
10   Dakota Blenders, CH Gunther, Inc., QNF Foods, and New Horizon Foods manufacture
11   similar donut mixes. (Levi Deel., ,r 13) In fact, several of the companies publish the
12   ingredient lists of their donut mixes on their internet websites. (Levi Deel., ,r 13)
13         The evidence before this Court is woefully inadequate to justify granting
14   injunctive relief against CAPITOL and/or HARDGROVE. Therefore, the Application
15   should be denied as to CAPITOL and HARDGROVE.
16                                                  III.
17                                        CONCLUSION
18         Plaintiff desperately attempts to lump CAPITOL and HARDGROVE together
19   with the other defendants, who are or were employed by Plaintiff. The facts do not
20   exist to do so. Rather, the evidence establishes that CAPITOL purchased two of the
21   donut mix recipes in 2017, and it has been selling the mixes continually since then.
22         As to the other products, CAPITOL independently developed them in 2018 and
23   2019, and it has been selling those products continually since. There is no evidence
24   that any of the three (3) individual defendants have given any information or
25   documentation to either HARDGROVE or CAPITOL.
26   Ill
27   Ill
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               OPPOSITION TO EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
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          There is no evidence to support a finding of a threatened or actual
 2   misappropriation by either CAPITOL and/or HARDGROVE.               Therefore, the
 3   Application must be denied as to CAPITOL and HARDGROVE.
 4
     Dated: March 30, 2021
 5

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                                                  Attorneys for Defendants
                                                  CAPITOL DISTRUBITION
 9                                                COMPANY, LLC and GARY
10                                                HARDGROVE

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              OPPOSITION TO EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
4558 Sherman Oaks Ave., Sherman Oaks, CA 91403


A true and correct copy of the foregoing document entitled (specify): DEFENDANTS GARY HARDGROVE'S AND
CAPITOL DISTRIBUTION COMPANY, LLC'S OPPOSITION TO PLAINTIFF'S EX PARTE APPLICATION FOR A
TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE RE PRELIMINARY INJUNCTION:
DECLARATIONS OF JOHN LEVI. GARY HARDGROVE AND GARY SOLOMONS
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d) ; and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
03/30/2021         , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  Deborah A. Hedley, Esq., VEDDER PRICE LLP by electronic service only: dhedley@vedderprice.com
  Theodore E. Bacon, Esq. , ALVARADO SMITH, by electronic service only: tbacon@alvaradosmith .com



                                                                                       D Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) _ __ _ __ _, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed .




                                                                                       D    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY , OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served) : Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 03/30/2021          , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows . Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
fi!Jio<1i . John A. Kronstadt, United States District Court
  First Street U.S. Courthouse, Ctrm. 10B
  350 W. First Street
  Los Angeles, CA 90012

                                                                                       D    Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

03/30/2021        JUDITH GROVES                                                                Isl
 Date                     Printed Name                                                          Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                            F 9013-3.1.PROOF .SERVICE
